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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 21-cr-156-2 (JDB)
                                            :
MATTHEW PERNA,                              :
                                            :
                      Defendant.            :


                       GOVERNMENT'S SUGGESTION OF DEATH
                   AND REQUEST FOR ABATEMENT OF PROSECUTION

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully seeks abatement of prosecution in this matter. As grounds for this

request, the United States now says that on information and belief defendant Matthew Perna died

on or about February 25, 2022.

       A defendant's death is a basis for abatement of all prosecution proceedings from their

inception. See Durham v. United States, 401 U.S. 481, 483 (1971) (citations omitted).

       WHEREFORE, the United States respectfully requests that the prosecution of Mr. Perna

be abated.

                                            Respectfully submitted,

                                            MATTHEW GRAVES
                                            United States Attorney

                                     By:          /s/ Nihar Mohanty
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